Case 2:14-cv-11635-PJD-RSW ECF No. 12 filed 09/09/14                  PageID.36      Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

Vladimir Lemeshko,                               :
                      Plaintiff,                 :
       v.                                        : Civil Action No.: 2:14-cv-11635
                                                 :
Alliance Health Networks, Inc.,                  :
                     Defendant.                  :
                                                 :
                                                 :
                                                 :
                                                 :
                                                 :

                       STIPULATION AND ORDER OF DISMISSAL

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(2), the above-captioned action is

hereby dismissed against Alliance Health Networks, Inc. and its legal successor in interest,

Alliance Health Networks, LLC, with prejudice and without costs to any party.

 Vladimir Lemeshko                            Alliance Health Networks, Inc.

    /s/ Sergei Lemberg                         /s/ Gary W. Faria

 Sergei Lemberg, Esq.                         Gary W. Faria
 LEMBERG LAW, LLC                             Usher & Spaniola, P.C.
 1100 Summer Street, 3rd Floor                5440 Corporate Drive, Suite 250
 Stamford, CT 06905                           Troy, Michigan 48098-2648
 Tel: (203) 653-2250                          Attorney for Defendant
 slemberg@lemberglaw.com
 Attorney for Plaintiff


       SO ORDERED.

                              s/Patrick J. Duggan
                              Patrick J. Duggan
                              United States District Judge
Dated: September 9, 2014
Case 2:14-cv-11635-PJD-RSW ECF No. 12 filed 09/09/14                PageID.37      Page 2 of 3



I hereby certify that a copy of the foregoing document was served upon counsel of record on
September 9, 2014, by electronic and/or ordinary mail.
                               s/Marilyn Orem
                               Case Manager




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

                                                : Civil Action No.: 2:14-cv-11635-PJD-RSW
Vladimir Lemeshko,                              :
                                                :
                      Plaintiff,                :
Case 2:14-cv-11635-PJD-RSW ECF No. 12 filed 09/09/14               PageID.38   Page 3 of 3



       v.                                        :
                                                 :
Alliance Health Networks, Inc.,                  :
                                                 :
                      Defendant.                 :
                                                 :
                                                 :

       [PROPOSED] ORDER ON PLAINTIFF’S STIPULATION OF DISMISSAL

       IT IS HEREBY ORDERD that this action be, and hereby is, DISMISSED with prejudice

and with each party to bear their own costs and attorneys’ fees.



Date: ___________                                     _________________________________
                                                      Hon. Patrick J. Duggan
                                                      U.S. District Court Judge
